                                      IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                                              NASHVILLE DIVISION

     In re:                                               )
                                                          )           Chapter 11
     Curae Health, Inc., et al. 1                         )           Case No. 18-05665
                                                          )
                                                          )
                                         Debtors.         )           Judge Walker
                                                          )           Jointly Administered


                                APPOINTMENT AND NOTICE OF APPOINTMENT
                             OF THE OFFICIAL UNSECURED CREDITORS COMMITTEE

              Pursuant to 11 U.S.C. § 1102, the United States Trustee hereby appoints and gives notice

 of the appointment of the following members to the Official Unsecured Creditors Committee.

                      Bill Anderson
                      MEDHOST, Inc.
                      6550 Carothers Parkway, Ste 160
                      Franklin, TN 37067
                      651-761-1841
                      Bill.anderson@medhost.com

                      Bill Ray and Peggy Jennings
                      Owens Minor
                      9120 Lockwood Blvd.
                      Mechanicsville, VA 23116
                      804-723-7532 (Ray)/ 804-723-7932 (Jennings)
                      Bill.ray@ownens-minor.com; peggy.jennings@owens-minor.com

                      Jerry Carpenter
                      Morrison Management Specialists, Inc.
                      4721 Morrison Drive, Suite 300
                      Mobile, AL 36609
                      251-461-3020
                      JerryCarpenter@iammorrison.com


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are Curae Health, Inc. (5638); Amory Regional Medical Center, Inc. (2640); Batesville Regional Medical Center,
 Inc. (7929); and Clarksdale Regional Medical Center, Inc. (4755); Amory Regional Physicians, LLC (5044); Batesville
 Regional Physicians, LLC (4952); Clarksdale Regional Physicians, LLC (5311).



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               Brad Phister
               Cardinal Health 110, LLC; Cardinal Health 200, LLC; Cardinal Health 414, LLC
               7000 Cardinal Place
               Dublin, OH 43017
               614-553-3315
               Brad.Phister@Cardinalhealth.com

               Eddie Sorrells
               Dothan Security Inc.
               600 W. Adams St.
               Dothan, AL 36303
               334-793-5720
               esorrells@dsisecurity.com

               Cliff Haigler
               Crown Health Care Laundry Services
               25 W. Cedar Street, Suite 405
               Pensacula, FL 22502
               850-972-2413
               CliffH@CrownLaundry.com

               Bob Perkins
               Boston Scientific Corporation
               300 Boston Scientific Way, M-71
               Marborough, MA 01752
               508-382-0256
               Robert.perkins@bsci.com


 The US Trustee has been advised that the chairperson for the committee is Bill Anderson
 and that contact with the committee should be at his email provided above.

                                            Respectfully Submitted,

                                            PAUL RANDLOPH
                                            ACTING UNITED STATES TRUSTEE, REGION 8

                                            /s/ Megan Seliber
                                            Megan Seliber
                                            Trial Attorney
                                            701 Broadway, Suite 318
                                            Nashville, TN 37203
                                            Phone 615-736-2254/615-736-2260 (fax)
                                            megan.seliber@usdoj.gov



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                                   CERTIFICATE OF SERVICE

         I hereby certify that I forwarded a true and correct copy of this Appointment by electronic
 notification to the Debtor’s Counsel, to the members of the committee and all registered ECF users
 who      have      entered     a    notice    of    appearance,     on     this   6th    day     of
 September, 2018.

                                                  /s/ Megan Seliber
                                                  Megan Seliber, Trial Attorney




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